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                                           ID #3915



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS


   CHEMTCO SITE PRP GROUP,                         )
                                                   )
                         Plaintiff,                )
                                                   )
   vs.                                             )   Case No. 18-CV-179-SMY-GCS
                                                   )
   A SQUARE SYSTEMS, INC., et al.,                 )
                                                   )
                         Defendants.               )

                              JUDGMENT IN A CIVIL ACTION

         The Court having been advised by the parties that the Plaintiff’s claims have been settled

 or otherwise dismissed with prejudice as to the defendants identified below, judgment is hereby

 entered as follows:

         IT IS HEREBY ORDERED AND ADJUDGED that Plaintiff’s claims are DISMISSED

 with prejudice as to the following Defendants:

    Date of       Order               Defendants Dismissed with Prejudice
     Order       Number
  04/02/2018       36   C&D Technologies, Inc (Doc. 14), Magnetic Metals Corporation
                        (Doc. 16), West End Hide, Fur & MetalCo., Inc. (Doc. 17), AAA
                        Auto Parts (Doc. 21), Westech Recyclers International Group, LLC
                        d/b/a Westech Recyclers (Doc. 22), Action Iron & Metal, Inc. (Doc.
                        24), John C. Kupferle Foundry Co. (Doc. 27), The Okonite
                        Company (Doc. 28), L3 Technologies, Inc. (Doc. 29), Pettits Auto
                        Parts & Recycling, Inc. (Doc. 30), Fusselman Salvage (Doc. 31) and
                        Able Alloy, Inc. (Doc. 33)
  04/03/2018       41   PVS Nolwood, Inc (Doc. 38) and Samtec Inc. d/b/a Samtec USA
                        (Doc. 39)
  4/06/2018         51  A-Reliable Auto Parts &Wreckers, Inc. d/b/a LKQ A-Reliable (Doc.
                        47), Mueller Systems, LLC (Doc. 48), Muskegon Rag & Metal Co.
                        (Doc. 49) and Saia-Burgess AutomotiveActuators LLC d/b/a
                        Johnson Electric (Doc. 50)
  04/17/2018       129  Kawabata American Incorporated (Doc. 58), Jayben Scrap Metal
                        Co., Inc. (Doc. 59), Resources Alloys and Metals, Inc. (Doc. 60),
                        Hickman, Williams & Company (Doc. 61), Norco Feed and
                        Recycling (Doc. 62), Penn Metal Stamping, Inc. (Doc. 63), Arric

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                      Corporation d/b/a Removable Insulation Covers (Doc. 64), Beckett
                      Bronze Company, Inc. (Doc. 65), Butler-MacDonald, Inc. (Doc. 66),
                      City of Iowa City, Iowa (Doc. 67), Encore Wire Corporation (Doc.
                      68), George W. Groeling & Sons Salvage, Inc. (Doc. 69), Nexans
                      Magnet Wire USA Inc. (Doc. 70), Public Utility District No. 1 of
                      Clark County (Doc. 71), RJG Inc. (Doc. 72), Specialty Chemical
                      Systems, Inc. (Doc. 73), Sprint Corporation (Doc. 74), Amalgamet
                      Inc. (Doc. 75), Mack's Twin City Recycling, Inc. (Doc. 76), and
                      United DMS of Tennessee, LLC (Doc. 77)
  04/18/2018    143   A Street Scrap (Doc. 78), American Car Crushing Inc. (Doc. 79),
                      David H. Fell & Co., Inc. (Doc. 80), DENSO Manufacturing
                      Tennessee, Inc. (Doc. 81), Freeway Corporation (Doc. 82), Gaby
                      Iron and Metal Co. (Doc. 83), Metropolitan Domestic Water
                      Improvement District (Doc. 84), Moskowitz Bros., Inc. (Doc. 85),
                      Nevco, Inc. (Doc. 86), Orlando Waste Paper Co. (Doc. 87), S.
                      Johnson & Sons Inc. (Doc. 89), Spectrum Control Inc. (Doc. 90),
                      Tennessee Valley Recycling LLC (Doc. 91), Weiser Recycling, Inc.
                      (Doc. 92), XCerra Corporation d/b/a Everett Charles Technology
                      (Doc. 93), Richmond Industries, Inc. (Doc. 94), Bridgewater
                      Recycling, Inc. (Doc. 95), City of Florissant, Missouri (Doc. 96),
                      Cycle Systems, Inc. (Doc. 97), and Vandalia Electric Motor Service,
                      Inc. (Doc. 98)
  04/20/2018    154   A&A Iron (Doc. 99), American Wire & Cable Company (Doc. 100),
                      Bel Fuse Inc. d/b/a Stewart Connector Systems, Inc. (Doc. 101),
                      Belmont Abbey College (Doc. 102), Calumet Brass Foundry, Inc.
                      (Doc. 103), Electroplated Wire Corp (Doc. 104), Envirolight and
                      Disposal, Inc. (Doc. 105), Fisk Alloy, Inc. (Doc. 106), Gaston Used
                      Auto Parts & Recycling (Doc. 107), Heartland Metals, Inc. (Doc.
                      108), Indiana Metal Craft, Inc. (Doc. 109), Intra American Metals
                      Inc. d/b/a Intrametco (Doc. 110), J&J Auto Salvage, Inc. (Doc. 111),
                      Lincoln Recycling, Inc. (Doc. 112), Marco International
                      Corporation (Doc. 113), Mark Baker Core Supply (Doc. 114),
                      Metering Services Inc. (Doc. 115), Micro Metals, Inc. (Doc. 116),
                      Mid-West Fabricating Co. (Doc. 117), MRK Group, Ltd. (Doc. 118),
                      and OBRON Atlantic Corporation (Doc. 119)
  04/20/2018    155   Paul W. Zimmerman Foundries Company (Doc. 120), Regal
                      Finance, Inc. (Doc. 121), Roman Manufacturing, Inc. (Doc. 122),
                      Safeway, Inc. (Doc. 123), Sea Technologies, Inc. (Doc. 124), Space
                      Age Metal (Doc. 125), State Paper & Metal Co., Inc. (Doc. 126),
                      United Metal Traders, Inc. (Doc. 127), Walker Metallurgical
                      Corporation (Doc. 128), Altech Metals, Inc. (Doc. 130), Dolphin,
                      Incorporated (Doc. 131), ITT Inc. d/b/a Goulds Pump Inc. (Doc.
                      132), J.W. Harris Co., Inc. (Doc. 133), TDY Industries, LLC (Doc.
                      134), A-Line EDS, Inc. (Doc. 135), Central Steel and Wire Company
                      (Doc. 136), Dana Kepner Company, Inc. (Doc. 137), Groov-Pin
                      Corp. (Doc. 138), Rexnord Corporation (Doc. 139), Meeker Sales

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                      Corp. (Doc. 140), The Fall River Group, Inc. (Doc. 141) and Recla
                      Metals, L.L.L.P. (Doc. 142)
  04/30/2018    209   Acquisition Scrap Metals (Doc. 144), Bob Brooks Motor Company
                      d/b/a Precision Parts & Remanufacturing (Doc. 145), City of
                      Kenosha, Wisconsin (Doc. 146), Engineered Coil Company d/b/a
                      DHS Marlo Coil (Doc. 147), Fort Wayne Metals Research Products
                      Corporation (Doc. 148), Kollmorgen Corporation (Doc. 149),
                      Pontiac Coil, Inc. (Doc. 151), Weller Auto Parts, Inc. (Doc. 153),
                      Adams & Westlake Ltd. (Doc. 156), AFC Cable Systems, Inc. (Doc.
                      157), Central States Refining Co., Inc. (Doc. 158), The Chicago
                      Faucet Company (Doc. 159), D.H. Griffin Wrecking Co., Inc. (Doc.
                      161), DeNaples Auto Parts, Inc. (Doc. 162), A-1 Recycling, Inc.
                      (Doc. 163), CME Arma Incorporated (Doc. 164), Decco Alloys Inc.
                      (Doc. 165), Dixie Electro Mechanical Services, Inc. (Doc. 166),
                      Ferguson Enterprises Inc. (Doc. 167), Key Tronic Corporation (Doc.
                      168), Livingston Pecan and Metal Company, Inc. (Doc. 169),
                      Ostroms Auto Parts (Doc. 170), Recyclers -R- Resources, Inc. (Doc.
                      171), Winchester Electronics Corp. (Doc. 172), Wurth Electronics
                      Midcom Inc. (Doc. 173), Amarillo Recycling Company, Inc. (Doc.
                      175), Burns Iron & Metal Co. Inc. (Doc. 176), City of Ottumwa,
                      Iowa (Doc. 177), City Scrap Metal, Inc. (Doc. 178), Coyne & Delany
                      Company (Doc. 179), Emerald Coast Utilities Authority (Doc. 180),
                      Hess and Sons Salvage, Inc. (Doc. 181), Longhorn Recycling,
                      L.P.(Doc. 182), Panduit Corp. (Doc. 183), Forklifts N More (Doc.
                      184), Wood Brothers Steel Stamping Co. (Doc. 185), Beacon Metal
                      Company, Inc. (Doc. 187), Brian H. Smith Demolition and
                      Dismantling Inc. d/b/a Northwest Demolition and Dismantling
                      (Doc. 188), General Bearing Corporation (Doc. 189), Lee County
                      Electric Cooperative, Inc. (Doc. 190), Strauss Industries, Inc. (Doc.
                      191), TSK Partners, Inc. d/b/a Erie Bronze Aluminum Co. (Doc.
                      192), WESCO Distribution, Inc. (Doc. 193), Alan Wire Company
                      (Doc. 197), All Scrap Recycling, LLC (Doc. 198), Dura-Bond Steel
                      Corp. (Doc. 199), Fort Recovery Industries, Inc. (Doc. 200), L.H.
                      Industries Corp. (Doc. 201), Republic Metals Corporation (Doc.
                      202), Stoneridge, Inc. (Doc. 203), Texas Instruments Incorporated
                      (Doc. 204) and Lighting Resources LLC (Doc. 208)
  05/08/2018    271   Abco Metal Corp. (Doc. 211), Allied Universal Corp. (Doc. 212),
                      Audubon Metals LLC (Doc. 213), Buds Iron & Metal (Doc. 214),
                      Bushs Recycling, Inc. d/b/a Bushs Recycling Center (Doc. 215),
                      Cherokee Fur Incorporated (Doc. 216), City of Irving, Texas (Doc.
                      217), City of La Marque, Texas (Doc. 218), Columbus Scrap
                      Material Company, Inc. (Doc. 219), Deutsche Nickel America, Inc.
                      (Doc. 220), Freebird Enterprises, L.L.C. d/b/a Eagle Auto & Truck
                      Parts (Doc. 221), Fritz Enterprises of Flint, LLC (Doc. 222), G&G
                      Machine & Maintenance, Inc. (Doc. 223), H&L Performance
                      Works, Inc. d/b/a Eagle Auto & Truck Works (Doc. 224), Industrial

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                      Metal Enterprise, Inc. (Doc. 225), Joe Krentzman & Son, Inc. (Doc.
                      226), Major Metals Corp. d/b/a Equitable Metals Company (Doc.
                      227), Manufacturers Brass and Aluminum Foundry, Inc. (Doc. 228),
                      Putnam Plastics Corporation (Doc. 229), Southern Recycling (Doc.
                      230), Thompson Metal Services, Inc. (Doc. 231), United Brass
                      Manufacturers, Inc. (Doc. 232), Vertical Seal Company (Doc. 233),
                      Milward Alloys, Inc. (Doc. 234), Robertson Transformer Co. d/b/a
                      Robertson Worldwide (Doc. 235), Board of Water Works of Pueblo,
                      Colorado (Doc. 236), Neu Brothers Holdings, Inc. (Doc. 237),
                      Nexans Energy USA, Inc. (Doc. 238), M Bloch & Co., Inc. d/b/a
                      Bloch Steel Industries (Doc. 239), IDEAL Fastener Corporation
                      (Doc. 240), A&P Recycling Co. Inc. (Doc. 241), Victory Auto
                      Wreckers, Inc. (Doc. 242), Dahl & Groezinger, Inc. (Doc. 243), New
                      England Electric Wire Corporation (Doc. 245), Materion Brush Inc.
                      (Doc. 246), Campbell Technological Resources, Inc. (Doc. 247),
                      Powerline Scrap Metal, Inc. (Doc. 248), J. Kuhl Metals Co. Inc.
                      (Doc. 249), Entergy Texas, Inc. (Doc. 251), Johnsons Metal
                      Recyclers, Inc. (Doc. 252), Southwire Company, LLC (Doc. 253),
                      Fortune Metal, Inc. of Rhode Island (Doc. 255), Defendant DeKalb
                      Iron and Metal Co. (Doc. 256), Phillips Iron & Metal Inc. (Doc.
                      257), Metro Alloys Inc. (Doc. 258), Anheuser-Busch Recycling
                      Corporation (Doc. 260), C&M Metals, Inc. (Doc. 261), City of
                      Arlington, Texas (Doc. 262), East Bay Municipal Utility District
                      (Doc. 263), ELG Utica Alloys, Inc. (Doc. 264), Western Smelting &
                      Metals Inc. (Doc. 265), Blue Recycling, Inc. (Doc. 266), Catskill
                      Communications, Inc. (Doc. 267), Seattle Iron & Metals
                      Corporation (Doc. 268), Wilkoff & Sons LLC (Doc. 269) and Lee
                      Iron and Metal Company, Inc. (Doc. 270)
  05/23/2018    354   Fritz Enterprises, Inc. (Doc. 272), Magnolia Metal Corporation
                      (Doc. 275), Miller Company (Doc. 276), Rons Autowrecking (Doc.
                      277), Salt River Project Agricultural Improvement and Power
                      District (Doc. 278), Gregs Core Supply, Inc. (Doc. 280), Haynes
                      Auto Parts (Doc. 281), Southern Scrap (Doc. 282), Trippe
                      Manufacturing Company d/b/a Tripp Lite (Doc. 283), Visteon
                      Corporation (Doc. 284), General Alloys, Inc. (Doc. 286), Fisher
                      Manufacturing Co. (Doc. 287), Kimmel Scrap Iron & Metal Co.
                      (Doc. 288), Mid-America Paper Recycling Co., Inc. (Doc. 289),
                      S&Z Mac, Inc. d/b/a Coastal Metal Recycling (Doc. 290), Sanmina
                      Corporation (Doc. 291), Versatile Metals, Inc. (Doc. 292), WesTex
                      Iron & Metal Company (Doc. 293), ASM Recycling, Inc. (Doc.
                      295), Belmont Metals Inc. (Doc. 296), City of Charlotte, North
                      Carolina (Doc. 297), Columbia Iron (Doc. 298), Electrical
                      Rebuilders Sales, Inc. d/b/a Vapex Vernon Auto Parts Exchange
                      (Doc. 299), Ideal Metal & Salvage Co. (Doc. 300), Key Services,
                      Inc. (Doc. 301), Mankato Iron & Metal, Inc. (Doc. 302), Alphega,
                      Inc. (Doc. 303), Arrow Tool & Stamping Co. (Doc. 304), Atlantic

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                      Metals and Alloys (Doc. 305), C&R Metals, Inc. (Doc. 306),
                      Electrical Maintenance and Testing, Inc. d/b/a OCRs (Doc. 307),
                      Heyworth Plumbing, Inc. (Doc. 308), Lewinsky Iron (Doc. 309), M.
                      J. Metals, Inc. (Doc. 310), Mitchell Public Water District (Doc. 311),
                      Town of Gilbert, Arizona (Doc. 312), Belleville Recycling, Inc.
                      (Doc. 313]), Barry Iron & Metal (Doc. 314), Berry Iron (Doc. 315),
                      Bristol Metal (Doc. 316), Central Kansas (Doc. 317), City of
                      Chandler, Arizona (Doc. 318), City Paper & Metal, Co., Inc. (Doc.
                      319), Communications Hardware, Inc. (Doc. 320), Huntington
                      Ingalls Incorporated (Doc. 321), Intersteel, Inc. (Doc. 322), Jantz
                      Auto Sales, Inc. (Doc. 323), Kelley Foundry & Machine Company
                      (Doc. 324), The Motor Control Center, LLC (Doc. 325), Duke
                      Energy Carolinas, LLC (Doc. 326), International Recycling
                      Company (Doc. 327), TMS International Corporation (Doc. 328),
                      Vishay Dale Electronics, LLC (Doc. 329), Aluminum Recycling
                      (Doc. 331), Baileys Scrap (Doc. 332), City of Avondale, Arizona
                      (Doc. 333), Sprigg Lane Investment Corporation (Doc. 334),
                      Amerifast Corporation (Doc. 335), Concast Metal Products Co.
                      (Doc. 336), Cooper Foundry, Inc. (Doc. 337), Coronas Auto Parts,
                      Incorporated (Doc. 338), Foothills Sanitation & Recycling, Inc.
                      (Doc. 339), Napuck Salvage and Supply, LLC (Doc. 340), North
                      Shore Supply Company, Inc. (Doc. 341), North Shore Steel (Doc.
                      342), Onstate Recycling, Inc. (Doc. 343), Barkers Junk (Doc. 344),
                      City of Glendale, California (Doc. 345), Legend Smelting and
                      Recycling, Inc. (Doc. 346), W. Silver Recycling, Inc. (Doc. 347),
                      City of Roanoke, Virginia (Doc. 349), Owl Wire & Cable Corp.
                      (Doc. 350) and Madison Metals (Doc. 352)
  06/04/2018    382   Bestway Recycling Co. (Doc. 355), Cerro Wire LLC (Doc. 356),
                      City Salvage 1 Inc. (Doc. 357), Honigman Recycling Corp. (Doc.
                      358), Medders Auto Core Supply Inc. (Doc. 359), Armys (Doc.
                      360), Arundel Recycling Center (Doc. 361), Dons Scrap Metal (Doc.
                      362), M. Gervich & Sons, Inc. (Doc. 363), Globe Technologies
                      Corporation (Doc. 364), Panasonic Corporation of North America
                      (Doc. 365), Hodes Industries (Doc. 366), A&A Iron & Metal Inc.
                      (Doc. 367), AS America, Inc. d/b/a American Standard Brands (Doc.
                      368), Briggs & Heino Plumbing & Heating Co., Inc. (Doc. 369), City
                      of Inglewood, California (Doc. 370), Goulding Scrap (Doc. 371),
                      Inglett Equipment, Inc. (Doc. 372), Kimble Electric (Doc. 373),
                      Kimball Electronics, Inc. (Doc. 374), M. Glosser & Sons, Inc. (Doc.
                      375), Paris Iron & Metal Co., Inc. (Doc. 376), San Antonio Water
                      System (Doc. 377), State Metal Industries (Doc. 378), Union Pacific
                      Railroad Co. (Doc. 379), Babs Foundry, Inc. (Doc. 380) and Federal
                      Cartridge (Doc. 381)
  06/15/2018    442   Can Land Recycling (Doc. 383), Dekoron Wire & Cable, LLC (Doc.
                      384), Giant Automotive Products Inc. (Doc. 385), Aegion
                      Corporation (Doc 386), Hunter-Douglas (Doc. 387), International

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                      Scrap Iron & Metal Co. Inc. (Doc. 388), Kalman W. Abrams Metals,
                      Inc. (Doc. 389), H. Masser Company (Doc. 390), Max Levine & Co.
                      (Doc. 391), Rvrr Enterprises, Inc. d/b/a Saw Mill Auto Scrap Metal
                      Processors, Inc. Wreckers (Doc. 392), Scrap Metal Processors,
                      Inc.(Doc. 393), Simflo Pumps, Inc. (Doc. 394), Sulphur Springs
                      (Doc. 395), Temple Metal (Doc. 396), Joseph Freedman Co. (Doc.
                      397), Powercom Services (Doc. 398), Elkins Iron (Doc. 399), Mahle
                      Inc. (Doc. 400), Exotech, Inc. (Doc. 401), Southern Electric Service
                      Company, Inc. d/b/a TEAMSESCO (Doc. 402), Cal Chem Metals,
                      Inc. (Doc. 403), Albuquerque Metal Recycling (Doc. 404), Acme
                      Iron & Metal (Doc. 405), Kovalchick Salvage Co. (Doc. 406),
                      Dongbu Daewoo Electronics America Inc. (Doc. 407), Custom
                      Stamping (Doc. 408), Chicago West (Doc. 409), Thomas & Betts
                      Corporation (Doc. 410), Universal Scrap Metals, Inc. (Doc. 411),
                      Bay Area Recycling (Doc. 412), City of Tampa, Florida (Doc. 413),
                      Davis-Standard LLC (Doc. 414), AA 1 Auto Wrecking (Doc. 415),
                      Corning, Inc. (Doc. 416), AFG Industries (Doc. 417), Recycleable
                      Inc. (Doc. 418), City of Snyder, Texas (Doc. 419), Meyer-Saba
                      Metal (Doc. 420), Skees Metals Inc. (Doc. 425), Mandel Metals, Inc.
                      d/b/a U.S. Standard Sign Company (Doc. 426), Sabel Industries, Inc.
                      (Doc. 427), Conn-Selmer, Inc. (Doc. 428), General Scrap (Doc.
                      429), Monroe Iron & Metal Company, Inc. d/b/a Auto Shred of
                      Louisiana (Doc. 430), Heyco Metals, Inc. (Doc. 431), Motorola
                      SSTG (Doc. 432), 21st Century Environmental Management of
                      Nevada, LLC (Doc. 433), Brasscraft Manufacturing Company (Doc.
                      434), Brass Craft Western Co. (Doc. 435), Central Hudson Gas &
                      Electric Corp. (Doc. 436), City of St. Louis, Missouri (Doc. 437),
                      FLSmidth USA, Inc. d/b/a Excel Foundry and Machine (Doc. 438),
                      H&H Iron and Metal, Inc. (Doc. 439), Integrity Metals Inc. (Doc.
                      440), and Williams Mobile (Doc. 441)
  06/21/2018    467   Seville Bronze (Doc. 444), Wyoming Recycling (Doc. 445), Mayo
                      Clinic (Doc. 446), Vertical Turbine Specialists (Doc. 447), Payne
                      Auto Parts (Doc. 448), Micron Industries Corporation (Doc. [449}),
                      Woonsocket Auto (Doc. 450), Myrtle Beach Scrap Metal (Doc.
                      451), Allen Avenue Auto Salvage (Doc. 452), U.S. Zinc Corporation
                      (Doc. 453), U.S. Trading (Doc. 454), Allied Scrap (Doc. 455),
                      Pechiney World Trade (Doc. 456), Reflective Recycling, Inc. (Doc.
                      457), Rohanna Iron (Doc. 458), Heilmann Salvage (Doc. 463),
                      Rayloc Division (Doc. 464), Raven Wire Co. (Doc. 465), and Plant
                      Reclamation (Doc. 466)
  06/28/2018    494   Houston Screw Products Inc. (Doc. 469), Jack Gray Trucking (Doc.
                      470), Kim-Kool, Inc. (Doc. 471), Kim's Radiator and Manufacturing
                      Co., Inc. (Doc. 472), Neal Scrap (Doc. 480), Nebraska Public Power
                      District (Doc. 481), Horne Heating & Cooling (Doc. 483), J&S
                      Metals (Doc. 484), Jacque Consenz, LLC (Doc. 485), LML Car
                      Crush (Doc. 486), Methode Electronics, Inc. (Doc. 487), Universal

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                      Salvage (Doc. 488), Can Man (Doc. 489), Grande Vista (Doc. 490),
                      Marubeni America (Doc. 491), MR Stratford Baling, LLC (Doc.
                      492) and Raff's Recycling (Doc. 493)
  07/05/2018    508   Arizona Public Service Company (Doc. 496), City of Grand Prairie,
                      Texas (Doc. 497), Dana Radiator (Doc. 498), Hubbell Power
                      Systems, Inc. (Doc. 499), Metal Ventures, Inc. (Doc. 500),
                      Rochester Iron (Doc. 501), Hildreth Mfg. LLC (Doc. 502), South
                      Lamar Iron & Steel Co. (Doc. 503), Venture Metals, LLC (Doc.
                      504), International Wire Inc. (Doc. 505), Aviva Metals, Inc. (Doc.
                      506) and Sierra Iron & Metal Co. (Doc. 507)
  07/12/2018    519   ORDER: Plaintiff Chemetco Site PRP Group has filed Notices of
                      Voluntary Dismissal with prejudice as to Defendants Blaine
                      Window Hardware Inc. (Doc. 509), City of Phoenix, Arizona (Doc.
                      510), Kirkwood Holding, Inc. (Doc. 511), Nixon Power Services
                      (Doc. 512), Toledo Commutator Company (Doc. 513), Cardinal
                      Health, Inc. (Doc. 514), Hartman Hide & Fur Company, Inc. (Doc.
                      515), Mayer Alloys Corporation (Doc. 516), Ultra Stamping &
                      Assembly, Inc. (Doc. 517) and CR&R, Inc. (Doc. 518)
  07/19/2018    543   Ettkin Scrap Iron & Metal Co. (Doc. 520), L&S Metals (Doc. 521),
                      Action Recycling (Doc. 528), Canfield Quality (Doc. 529), CNA
                      Metals Limited (Doc. 530), Falcon Foundry (Doc. 531), Highland
                      Recycling and Shredding, Inc. (Doc. 532), Hitchiner Manufacturing
                      Co., Inc. (Doc. 533), OFallon Casting, LLC (Doc. 534), Prestolite
                      Wire (Doc. 535), Johns Auto Parts of Bunnell, Inc. (Doc. 536),
                      Ecology, Inc. (Doc. 537), Wrights Scrap Metals Inc. d/b/a Wrights
                      Scrap & Recycling (Doc. 538), Howies Recycling Center, Inc. (Doc.
                      539), Professional Plumbing Corp. (Doc. 540), U-Metco Inc. (Doc.
                      541) and Karr Parts (Doc. 542)
  07/26/2018    558   Kearny Smelting & Refining Company (Doc. 545), Accurate Bronze
                      Bearing Co. (Doc. 546), B. Clinkston & Sons (Doc. 547), Kohne
                      Salvage (Doc. 548), Norfolk Iron (Doc. 549), Sikora Metals, Inc.
                      (Doc. 550), Sol Walker & Co. (Doc. 551), Flury Foundry Company
                      (Doc. 555), Vulcan Materials (Doc. 556) and Toyomenja (Doc. 557)
  08/09/2018    575   Major Iron & Metal (Doc. 560), Josh Steel Co. (Doc. 561),
                      Algonquin Industries, Inc. (Doc. 562), Elgin Recycling, Inc. (Doc.
                      563), Consolidated Edison Company of New York, Inc. (Doc. 564),
                      John Deere (Doc. 565), J.E. Kodish & Sons, Inc. (Doc. 566),
                      Kennametal Inc. (Doc. 567), McNew Salvage (Doc. 568), Rea
                      Magnet Wire Company, Inc. (Doc. 569), Rea Magnet Wire
                      Company, Inc. (Doc. 570), Schupan & Sons Inc. (Doc. 571), R&R
                      Metal Co., Inc. (Doc. 572), Levand Steel & Supply Corporation
                      (Doc. 573) and TLK Industries, LLC (Doc. 574)
  08/16/2018    585   Eco Resources, Inc. (Doc. 570), Borchers Americas Inc. (Doc. 576),
                      White Bluff (Doc. 577), Federal Iron & Metal Inc. (Doc. 578) and
                      Space Tech (Doc. 579)


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  08/23/2018    599   Strategic Metals Corporation d/b/a Robert K. Kurtz Company (Doc.
                      587), All Grade Metal Recycling of South Dade, Inc. (Doc. 588),
                      Gulf Coast Scrap Metal, Inc. (Doc. 592), Stewart EFI, LLC (Doc.
                      593), United Iron and Metal (Doc. 594), Pull & Save Auto Parts Inc.
                      (Doc. 595), Spaldings Inc. d/b/a Pull & Save Auto Parts (Doc. 596),
                      Patterson Iron (Doc. 597) and Avalon Precision Casting Company,
                      LLC d/b/a Avalon Precision Metalsmiths (Doc. 598)
  09/04/2018    608   Todd Systems, Inc. (Doc. 601), Utah Metal Works, Inc. (Doc. 602),
                      Deltec, Inc. (Doc. 603), American Compressed Steel Corp. (Doc.
                      604), Metro Water Services (Doc. 605), and Courtney Car (Doc.
                      606)
  09/13/2018    615   Alpert & Alpert Iron & Metal, Inc. (Doc. 610), Eastern Product
                      Foundry, Inc. (Doc. 611), McHenry Brass, Inc. (Doc. 612) and Vista
                      Metals (Doc. 613)
  09/20/2018    621   Consolidated Resources, Inc. (Doc. 618) and BMB Crushing (Doc.
                      620)
  09/27/2018    633   Nordyne Inc. (Doc. 623), Holland Electric Salvage (Doc. 624), The
                      G.A. Avril Company (Doc. 630) and Lenox Metals, LLC (Doc. 631)
  10/05/2018    642   ABC Radiator & Air, Inc. (Doc. 637), Boggs Auto Parts (Doc. 639)
                      and R&R Industries, Inc. (Doc. 640)
  11/01/2018    666   North Lapeer Recycling, Inc. (Doc. 644), Suffolk County Water
                      Authority (Doc. 645), Aaron Metals Company (Doc. 646),
                      Bethlehem Apparatus Company, Inc. (Doc. 647), South Post Oak
                      Recycling Center LLC (Doc. 648), Azcon Corp. (Doc. 649), Azcon
                      Scrap (Doc. 650), DBI Inc. d/b/a Utilities & Industries (Doc. 653),
                      Mansfield Plumbing Products LLC (Doc. 654), Oakes Foundry, Inc.
                      (Doc. 655), C.A. Zimmer, Inc. (Doc. 663) and Conservation (Doc.
                      665)
  11/08/2018    685   Duncan Electronics Division (Doc. 668), Pick A Part Auto
                      Wrecking, L.P. (Doc. 669), Monterey Iron (Doc. 675), Lewis Metals
                      (Doc. 679), Midwest Iron & Metal Co., Inc. (Doc. 680), Strone
                      Investments, L.C. d/b/a A-Line Iron & Metals (Doc. 681), Leaf Sales
                      Inc. (Doc. 682), Metalsco Inc. (Doc. 683) and Rusk Metal Company,
                      Inc. (Doc. 684)
  11/29/2018    716   API Heat Transfer Inc. (Doc. 690), Tullis Metals (Doc. 692), Grape
                      Sales Inc. (Doc. 698), Mississippi Power & Light (Doc. 699),
                      Georgia Power (Doc. 700), Smith Iron & Metal Co. Inc. (Doc. 701),
                      Quality Metals, Inc. (Doc. 702), Texas Iron & Metal (Doc. 703),
                      Electrical Components International, Inc. (Doc. 705), Noma A&E
                      (Doc. 706), Aurora Metals Division, LLC (Doc. 707), Railway &
                      Industrial Services Inc. (Doc. 708), Brass Brother (Doc. 709), City
                      Scrap & Salvage Co., Inc. (Doc. 710), Spring City Salvage Co. (Doc.
                      711), and Standard Scrap Metal/Eigen Scrap Metal & Alloy Co.
                      (Doc. 712)
  12/10/2018    730   Storm Products (Doc. 721), Teledyne Reynolds Inc. (Doc. 722), Bay
                      Side Recycling Inc. (Doc. 723), Leder Brothers Company (Doc.

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                           724), Acme Scrap Inc. (Doc. 727) and Hi Temp Alloy Processors &
                           Brokers, L.P. (Doc. 728)
  01/03/2019       747     Aaromet Metal Recycling, LLC (Doc. 732), Joseph Krash Metal
                           Company, LLC (Doc. 733), Reuters (Doc. 734), Hallmark Metals
                           Corp. (Doc. 735), Moeller Products Company, Inc. (Doc. 736),
                           Moeller Manufacturing Co., Inc. (Doc. 737), Entergy Services, Inc.
                           (Doc. 738), Pelco Systems (Doc. 739), Nation Salvage (Doc. 741),
                           West Allis Sales (Doc. 742) and Riva Services, Inc. (Doc. 743)
  01/25/2019       823     Storm Manufacturing Group, Inc. (Doc. 754),Miller Metals (Doc.
                           767),One Earth Recycling, Inc. d/b/a California Metals (Doc.
                           768),Flextronics International USA, Inc. (Doc. 769), andShapiro
                           Bros. of Illinois, Inc. d/b/a Milano Metals and Recycling (Doc. 781)
  02/06/2019       894     Baker Metals (Doc. 830), Pick Your Part (Doc. 831), JTs Salvage
                           Co. (Doc. 848 and 857), Norris Iron & Metal, Inc. (Doc. 862),
  02/25/2019      1355     Ocean State Metals, Inc. (Doc. 907),RotoMetals, Inc. (Doc. 908),
                           Gunther Electronics, Inc. (Doc. 965), Zircon Precision Inc. (Doc.
                           966), CME Wire & Cable, Inc. (Doc. 985), Gunther Electronics, Inc.
                           (Doc. 986), R&R Metals Recycling Inc. (Doc. 987), Cumberland
                           Recycling Corporation of South Jersey (Doc. 990), Amerway, Inc.
                           (Doc. 1000), City of Duluth, Minnesota (Doc. 1002), and Harsip
                           Bros., Inc (Doc. 1005)
  02/25/2019      1371     Montclair Bronze, Inc. (Doc. 1021), Toko Trading Corporation
                           (Doc. 1022), Millennium Recycling LLP (Doc. 1024), and
                           Univertical LLC (Doc. 1026)
  03/01/2019      1573     Bick Group (Doc. 1093), Hart Heat Transfer Products, Inc. d/b/a
                           Hart Radiators (Doc. 1095), Libby Owens Ford (Doc. 1097),
                           Recycling Coordinators, Inc. (Doc. 1099), and Wharton Enterprises
                           (Doc. 1101)
  03/01/2019      1582     Applied Waste Management, Inc. (Doc. 1550), Garden Street Iron
                           & Metal, Inc. (Doc. 1551), Hasco (Doc. 1552), Leth & Son Salvage
                           (Doc. 1553), Hawk Steel Industries, Inc. (Doc. 1554), Motan-
                           Colortronic GMBH (Doc. 1555), Self Recycling, Inc. (Doc. 1556),
                           AT Designs Insignia Inc. (Doc. 1565), DMD Systems Recovery, Inc.
                           (Doc. 1566), Hasser Enterprises, Inc. (Doc. 1567), Lafayette Tool
                           and Die, Inc. (Doc. 1568), and Northland Recycling (Doc. 1569),

        Plaintiff’s claims against all other Defendants have been previously dismissed without

 prejudice. Accordingly, the Clerk of Court is DIRECTED to close this case.


        DATED: March 4, 2018
                                                    MARGARET M. ROBERTIE, Clerk

                                                    By: s/ Stacie Hurst __________
                                                        Deputy Clerk

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APPROVED: s/ Staci M. Yandle
         STACI M. YANDLE
         United States District Judge




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